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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR94
       vs.                                    )
                                              )                  ORDER
JUAN GARCIA,                                  )              CONTINUING TRIAL
JOSE ELIAS GARCIA, and                        )
LEONARDO VARGAS-GONZALEZ,                     )
                                              )
                     Defendants.              )


         This matter is before the court on the government's MOTION TO CONTINUE TRIAL [242].
The case was previously continued from June 27, 2006 to July 11, 2006, and then to
September 19, 2006 due to defense counsel's scheduling conflicts. For good cause shown,
trial will be continued to the next available trial setting, i.e., September 26, 2006.

       IT IS ORDERED that the motion to continue trial [242] is granted, as follows:

       1. Trial of this matter is continued from September 19, 2006 to September 26, 2006
before Judge Laurie Smith Camp and a jury.

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between September 19, 2006 and
September 26, 2006, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act due to moving counsel's scheduling conflicts, and
considering the diligence of counsel. Failure to grant a continuance would unreasonably deny
the government continuity of counsel, be likely to make a continuation of such proceeding
impossible, and/or result in a miscarriage of justice . 18 U.S.C. § 3161(h)(8)(A) & (B).

     3. Counsel for the United States shall confer with defense counsel and, no later than
September 20, 2006, advise the court of the anticipated length of trial.

      4. This order applies to defendants Juan Garcia, Jose Elias Garcia, and Leonardo
Vargas-Gonzalez.

       DATED June 15, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
